
Per curiam.
Respondent Lucinda Stevens was found guilty of violating Standards 4, 21, 44, and 45 of Bar Rule 4-102 of the State Bar Rules.
Based upon these violations, the Review Panel for the State Bar Disciplinary Board recommends that respondent Lucinda Stevens be suspended from the practice of law in the State of Georgia for a period of six (6) months; and, as a condition precedent to reinstatement, *427that respondent provide proof satisfactory to the office of General Counsel that complainant’s retainer fee of $5,000 has been returned.
Decided July 15, 1991.
William P. Smith III, General Counsel State Bar, Cynthia C. Hinrichs, Assistant General Counsel State Bar, for State Bar of Georgia.
It is therefore directed that respondent Lucinda Stevens be suspended from the practice of law in the State of Georgia in accordance with paragraph two above.

All the Justices concur.

